
676 S.E.2d 47 (2009)
STATE of North Carolina
v.
Bobby Donnell HAIRSTON, Jr.
No. 258P08.
Supreme Court of North Carolina.
March 19, 2009.
Barbara S. Blackman, Assistant Appellate Defender, for Hairston.
Marc X. Sneed, Assistant Attorney General, G. Dewey Hudson, District Attorney, for State of NC.
Prior report: ___ N.C.App. ___, 661 S.E.2d 39.

ORDER
Upon consideration of the petition filed on the 6th day of June 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 19th day of March 2009."
